          Case 5:18-cv-02549-GW-SHK Document 16 Filed 02/01/19 Page 1 of 12 Page ID #:133



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                      7   Attorneys for Defendant, MINKA LIGHTING, INC.
                      8                       UNITED STATES DISTRICT COURT
                      9                      CENTRAL DISTRICT OF CALIFORNIA
                  10                                 EASTERN DIVISION
                  11      VAXCEL INTERNATIONAL CO.,              )   CASE NO.: 5:18-cv-02549-GW (SHKx)
                          LTD.,                                  )
                  12                                             )   DEFENDANT MINKA LIGHTING
                                Plaintiff,                       )   INC.’S ANSWER AND
                  13                                             )
                                                                 )   COUNTERCLAIM TO PLAINTIFF
                  14      vs.                                    )   VAXCEL INTERNATIONAL CO.
                                                                 )   LTD.’S COMPLAINT
                  15      MINKA LIGHTING, INC.                   )
                                                                 )
                  16                                             )
                                Defendant.                           DEMAND FOR JURY TRIAL
                                                                 )
                  17                                             )
                  18
                  19            Defendant Minka Lighting, Inc. (“Minka” or “Defendant”) hereby answers
                  20      the Complaint filed by Plaintiff Vaxcel International Co. Ltd. (“Vaxcel” or
                  21      “Plaintiff”). Each numbered paragraph of the Answer corresponds to the same
                  22      numbered paragraph of the Complaint.
                  23                                       PARTIES
                  24            1.     Minka admits the allegations contained in Paragraph 1 of the
                  25      Complaint.
                  26            2.     Minka admits the allegations contained in Paragraph 2 of the
                  27      Complaint.
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RIVERSIDE, CA 92501                  DEFENDANT MINKA LIGHTING INC.’S ANSWER AND
    951-783-9470                         COUNTERCLAIM TO PLAINTIFF VAXCEL
                                         INTERNATIONAL CO. LTD.’S COMPLAINT
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                      1         3.      Minka admits the allegations contained in Paragraph 3 of the
                      2   Complaint.
                      3                             JURISDICTION AND VENUE
                      4         4.      Minka admits the allegations contained in Paragraph 4 of the
                      5   Complaint.
                      6         5.      Minka admits the allegations contained in Paragraph 5 of the
                      7   Complaint.
                      8         6.      Minka admits that it regularly conducts business in the Central District
                      9   of California. Minka denies that it has committed any acts or omissions giving rise
                  10      to Plaintiff’s claims in this or any other judicial district and the remaining allegations
                  11      contained in Paragraph 6 of the Complaint.
                  12            7.      Minka denies the allegations contained in Paragraph 7 of the
                  13      Complaint.
                  14            8.      Minka admits that this Court has personal jurisdiction over it. Minka
                  15      denies the remaining allegations contained in Paragraph 8 of the Complaint.
                  16            9.      Minka admits that venue is proper in the Central District of California.
                  17      Minka denies the remaining allegations in Paragraph 9 of the Complaint.
                  18                                         BACKGROUND
                  19            10.     Minka is without sufficient information to form a belief as to the
                  20      truthfulness of the allegations contained in Paragraph 10 of the Complaint, and
                  21      therefore denies them.
                  22            11.     Minka is without sufficient information to form a belief as to the
                  23      truthfulness of the allegations contained in Paragraph 11 of the Complaint, and
                  24      therefore denies them.
                  25            12.     Minka admits that United States Patent No. 10,117,313 (“the ’313
                  26      Patent”) issued on October 30, 2018. Minka denies the remainder of the allegations
                  27      contained in Paragraph 12 of the Complaint.
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                      1         13.     Minka is without sufficient information to form a belief as to the
                      2   truthfulness of the allegations contained in Paragraph 13 of the Complaint, and
                      3   therefore denies them.
                      4         14.     Minka admits that it is not a licensee of Vaxcel and denies that it needs
                      5   a license from Vaxcel. Minka denies the remainder of the allegations contained in
                      6   Paragraph 14 of the Complaint.
                      7                                             COUNT I
                      8               PATENT INFRINGEMENT OF U.S. PATENT NO. 10,117,313
                      9         15.     Minka repeats and realleges its answers to Paragraphs 1 through 14 of
                  10      the Complaint as if fully set forth herein.
                  11            16.     Minka admits that it manufactures, distributes, and markets its lighting
                  12      products. Minka denies the remainder of the allegations contained in Paragraph 16
                  13      of the Complaint.
                  14            17.     Minka admits that it sells lanterns or lamps with a motion detector
                  15      exclusively to Home Depot and denies the remainder of the allegations contained in
                  16      Paragraph 17 of the Complaint.
                  17            18.     Minka denies the allegations contained in Paragraph 18 of the
                  18      Complaint.
                  19            19.     Minka denies the allegations contained in Paragraph 19 of the
                  20      Complaint.
                  21            20.     Minka denies the allegations contained in Paragraph 20 of the
                  22      Complaint.
                  23            21.     Minka admits that it imports, sells, and/or offers to sell the Port Oxford
                  24      (Model No. 22211) and the McCarthy (Model No. 22411) lamps with a motion
                  25      detector exclusively to Home Depot. Minka denies the remainder of the allegations
                  26      contained in Paragraph 21 of the Complaint.
                  27            22.     Minka denies the allegations contained in Paragraph 22 of the
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RIVERSIDE, CA 92501                   DEFENDANT MINKA LIGHTING INC.’S ANSWER AND
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                      1   Complaint.
                      2         23.     Minka denies the allegations contained in Paragraph 23 of the
                      3   Complaint.
                      4         24.     Minka denies the allegations contained in Paragraph 24 of the
                      5   Complaint.
                      6         25.     Minka admits that the documents attached as Exhibit C and Exhibit D
                      7   to Plaintiff’s Complaint contain the quoted language. Minka denies the remainder
                      8   of the allegations contained in Paragraph 25 of the Complaint.
                      9         26.     Minka denies the allegations contained in Paragraph 26 of the
                  10      Complaint.
                  11            27.     Minka denies the allegations contained in Paragraph 27 of the
                  12      Complaint.
                  13            28.     Minka denies the allegations contained in Paragraph 28 of the
                  14      Complaint.
                  15            29.     Minka denies the allegations contained in Paragraph 29 of the
                  16      Complaint.
                  17            30.     Minka denies the allegations contained in Paragraph 30 of the
                  18      Complaint.
                  19            31.     Minka denies the allegations contained in Paragraph 31 of the
                  20      Complaint.
                  21            32.     Minka denies the allegations contained in Paragraph 32 of the
                  22      Complaint, and denies that Plaintiff is entitled to any relief requested in Paragraph
                  23      32, the Prayer for Relief, or anywhere else in the Complaint.
                  24                                 AFFIRMATIVE DEFENSES
                  25            1.      Subject to and without waiver of the denials and responses contained in
                  26      its Answer, Minka alleges as follows as its affirmative defenses. In asserting these
                  27      defenses, Minka does not assume the burden of proof as to matters that, pursuant to
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                                          INTERNATIONAL CO. LTD.’S COMPLAINT
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                      1   law, are Vaxcel’s burden to prove.
                      2                          FIRST AFFIRMATIVE DEFENSE
                      3         2.     Minka has not infringed, willfully infringed, contributed to
                      4   infringement of, or actively induced others to infringe, and does not willfully or
                      5   otherwise infringe, contribute to infringement of, or actively induce others to
                      6   infringe any valid claim of the ’313 Patent.
                      7                        SECOND AFFIRMATIVE DEFENSE
                      8         3.     The claims of the ’313 Patent are invalid for failure to satisfy or comply
                      9   with 35 U.S.C. §§ 101, 102, 103, 112, and/or any other judicially created doctrines
                  10      such as the doctrine of obviousness-type double patenting.
                  11                            THIRD AFFIRMATIVE DEFENSE
                  12            4.     By reason of the prosecution of the application for the ’313 Patent,
                  13      Plaintiff is estopped from construing the claimed inventions of the ’313 Patent (or
                  14      any equivalent thereof) as applying to any product made, used, sold, and/or offered
                  15      for sale by Minka.
                  16                           FOURTH AFFIRMATIVE DEFENSE
                  17            5.     Plaintiff’s claims in this action are barred under the equitable doctrines
                  18      of estoppel, laches, acquiescence, and/or unclean hands.
                  19                             FIFTH AFFIRMATIVE DEFENSE
                  20            6.     Plaintiff is not entitled to any damages or profits in this action for any
                  21      alleged infringement prior to filing this Complaint because Plaintiff failed to comply
                  22      with the marking requirements of 35 U.S.C. § 287(a).
                  23                             SIXTH AFFIRMATIVE DEFENSE
                  24            7.     Plaintiffs fail to state a proper claim for an exceptional case and/or
                  25      willful infringement. No acts by Minka give rise to an exceptional case under 35
                  26      U.S.C. § 285.
                  27      ///
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RIVERSIDE, CA 92501                  DEFENDANT MINKA LIGHTING INC.’S ANSWER AND
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                                         INTERNATIONAL CO. LTD.’S COMPLAINT
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                      1                        SEVENTH AFFIRMATIVE DEFENSE
                      2         8.      Minka reserves the right to assert any and all additional defenses and
                      3   counterclaims that may be developed, whether through discovery, further
                      4   investigation, and/or otherwise, including defenses or counterclaims of
                      5   unenforceability.
                      6                                   COUNTERCLAIMS
                      7         Defendant and Counterclaim-Plaintiff Minka Lighting Inc. (“Minka”) for
                      8   these counterclaims against Plaintiff and Counterclaim-Defendant Vaxcel
                      9   International Co., Ltd. (“Vaxcel”), alleges as follows.
                  10                                         THE PARTIES
                  11            1.      Minka is incorporated under the laws of the State of California, with its
                  12      principal place of business at 1151 West Bradford Court, Corona, California 92882.
                  13            2.      Vaxcel is, on information and belief, an Illinois corporation with its
                  14      principal place of business located at 121 E. North Avenue, Carol Stream, Illinois
                  15      60188.
                  16                                JURISDICTION AND VENUE
                  17            3.      These Counterclaims are an action for declaratory judgment of patent
                  18      non-infringement and/or patent invalidity pursuant to 28 U.S.C. §§ 2201 and 2202.
                  19            4.      These Counterclaims arise under the laws of the United States, and this
                  20      Court has subject matter jurisdiction over these counterclaims pursuant to 28 U.S.C.
                  21      §§ 1331 and 1338(a), as well as under the Declaratory Judgment Act, 28 U.S.C. §§
                  22      2201 and 2202. The Court also has subject matter jurisdiction over this controversy
                  23      under 28 U.S.C. § 1332 as the action is between citizens of different states and the
                  24      amount in controversy in this action, exclusive of interest and costs, exceeds the sum
                  25      of $75,000.
                  26            5.      This Court has personal jurisdiction over Vaxcel because Vaxcel filed
                  27      the Complaint in this Court, alleging infringement of the ’313 Patent by Minka, and
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RIVERSIDE, CA 92501                  DEFENDANT MINKA LIGHTING INC.’S ANSWER AND
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                                         INTERNATIONAL CO. LTD.’S COMPLAINT
                                                                                                   Firm-Templates -- 2974086.1
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                      1   because, on information and belief, Vaxcel conducts substantial business in this
                      2   District and has engaged in systematic and regular contact with this District.
                      3         6.       Venue is proper in this District pursuant to 28 U.S.C. §§ 1391(b) and
                      4   (c) because this Court has personal jurisdiction over Vaxcel and because a
                      5   substantial part of the events giving rise to Minka’s declaratory judgment claims
                      6   occurred in this District. Minka is also Defendant and Counter-Plaintiff, and resides
                      7   in the Eastern Division of the Central District of California. Minka alleges that this
                      8   case should be dismissed or consolidated with Case Nos. 5:18-cv-01484 GW
                      9   (SHKx), styled Vaxcel International Co., Ltd. v. Minka Lighting, Inc.
                  10                                         BACKGROUND
                  11            7.       Vaxcel alleges in the Complaint that United States Patent No.
                  12      10,117,313 (the “’313 Patent”) issued on October 30, 2018.
                  13            8.       Vaxcel alleges in its Complaint that it is the assignee of the ’313 Patent.
                  14            9.       Vaxcel purports to be the owner of all right, title, and interest in the
                  15      ’313 Patent.
                  16            10.      On December 4, 2018, Vaxcel filed its Complaint in this Court alleging
                  17      Minka has infringed the ’313 Patent by commercial manufacture, use, offer to sell,
                  18      sale, or importation of certain Minka products.
                  19            11.      There is an actual, substantial and justiciable controversy between
                  20      Minka and Vaxcel relating to the non-infringement and/or invalidity of the ’313
                  21      Patent.
                  22                                              COUNT I
                  23                       NON-INFRINGEMENT OF THE ’313 PATENT
                  24            12.      Minka repeats and realleges and incorporates by reference all preceding
                  25      paragraphs of the Counterclaims as if fully set forth herein.
                  26            13.      Minka has not, does not, and will not infringe any valid or enforceable
                  27      claim of the ’313 Patent by the manufacture, use, offer to sell, sale, or importation
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RIVERSIDE, CA 92501                   DEFENDANT MINKA LIGHTING INC.’S ANSWER AND
    951-783-9470                          COUNTERCLAIM TO PLAINTIFF VAXCEL
                                          INTERNATIONAL CO. LTD.’S COMPLAINT
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                      1   of any Minka products, including but not limited, to the Port Oxford (Model No.
                      2   22211) and the McCarthy (Model No. 22411) lamps with a motion detector (the
                      3   “Áccused Products”).
                      4         14.     The Accused Products have not infringed and do not infringe any claim
                      5   of the ’313 Patent, either directly or indirectly, literally or under the Doctrine of
                      6   Equivalents. More particularly, the Accused Products lack at least the exemplary
                      7   limitations of independent claims 1, 9, and 11 that call for “a cover[,] partially
                      8   covering the sensing unit; wherein . . . the at least one sensor at the first side of the
                      9   sensing unit is not blocked and is capable of performing sensing function when the
                  10      sensing unit is rotated to the first angle, [wherein] the at least one parameter adjusting
                  11      element at the second side of the sensing unit is exposed to being adjusted when the
                  12      sensing unit is rotated to the second angle.” Pursuant to the requirements of the
                  13      exemplary limitations in independent claims 1, 9, and 11, neither the alleged
                  14      “sensor” nor the alleged “parameter adjusting element” is covered by the cover in
                  15      either the alleged “first angle” or the alleged “second angle” positions for the
                  16      Accused Products.
                  17            15.     Minka is entitled to a judicial declaration that it has not infringed, and
                  18      that the commercial manufacture, use, offer to sell, sale, or importation of any Minka
                  19      products will not infringe, any valid or enforceable claim of the ’313 Patent.
                  20            16.     This is an exceptional case under 35 U.S.C. § 285 and Minka is entitled
                  21      to an award of its costs, expenses and reasonable attorneys’ fees.
                  22                                            COUNT II
                  23                            INVALIDITY OF THE ’313 PATENT
                  24            17.     Minka repeats and realleges and incorporates by reference all preceding
                  25      paragraphs of the Counterclaims as if fully set forth herein.
                  26            18.     One or more claims of the ’313 Patent are invalid under 35 U.S.C. §§
                  27      101, 102, 103, 112 and/or any judicially created doctrines such as the doctrine of
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RIVERSIDE, CA 92501                   DEFENDANT MINKA LIGHTING INC.’S ANSWER AND
    951-783-9470                          COUNTERCLAIM TO PLAINTIFF VAXCEL
                                          INTERNATIONAL CO. LTD.’S COMPLAINT
                                                                                                      Firm-Templates -- 2974086.1
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                      1   obviousness-type double patenting.
                      2         19.     One or more claims of the ’313 Patent are invalid as obvious to a person
                      3   of ordinary skill in the art under 35 U.S.C. § 103 at least over U.S. Patent No.
                      4   7,473,899 or U.S. Patent 5,590,953 in view of other prior art.
                      5         20.     This is an exceptional case under 35 U.S.C. § 285 and Minka is entitled
                      6   to an award of its costs, expenses and reasonable attorneys’ fees.
                      7                                 PRAYER FOR RELIEF
                      8         WHEREFORE, Counter-Plaintiff Minka prays for a judgment against
                      9   Counter-Defendant Vaxcel as follows:
                  10            1.      Dismissing the Complaint in its entirety with prejudice;
                  11            2.      Entering judgment in favor of Minka;
                  12            3.      A declaration that the manufacture, use, offer to sell, sale, or
                  13      importation of any accused Minka product has not, does not, and will not infringe
                  14      any valid or enforceable claim of the ’313 Patent;
                  15            4.      A declaration that the manufacture, use, offer to sell, sale, or
                  16      importation of any accused Minka product has not, does not, and will not
                  17      contributorily infringe any valid or enforceable claim of the ’313 Patent;
                  18            5.      A declaration that the manufacture, use, offer to sell, sale, or
                  19      importation of any accused Minka product has not, does not, and will not induce
                  20      infringement of any valid or enforceable claim of the ’313 Patent;
                  21            6.      A declaration that one or more claims of the ’313 Patent are invalid;
                  22            7.      A declaration that this case is exceptional under 35 U.S.C. § 285.
                  23            8.      Awarding Minka its reasonable costs and attorneys’ fees incurred in
                  24      defending this action pursuant to 35 U.S.C. § 285; and
                  25      ///
                  26      ///
                  27      ///
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RIVERSIDE, CA 92501                   DEFENDANT MINKA LIGHTING INC.’S ANSWER AND
    951-783-9470                          COUNTERCLAIM TO PLAINTIFF VAXCEL
                                          INTERNATIONAL CO. LTD.’S COMPLAINT
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                                9.      Awarding Minka such other and further relief as the Court deems just
                      2   and proper.
                      3
                           Dated: February 1, 2019                                S WRAGE & ALFARO, PC
                      4

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                                                           By:----'::.-:::..-'--~---\-,,___ _ _ _ _ _ __
                      7                                        Theodore K. tream
                                                               Mario H . Alfaro
                      8                                        Attorneys for Defendant
                      9                                        MINKA LIGHTING, INC.

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                     11
                                                   DEMAND FOR JURY TRIAL
                                Defendant and Counter-Plaintiff Minka hereby demands a jury trial, as
                     12

                     13
                          provided by Rule 38(a) of the Federal Rules of C vil Procedure.

                     14
                           Dated: February 1, 2019         STREAM KIM        ICKS WRAGE & ALFARO, PC
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                                                           By:__,<----+-,1---+-+--+--- - - - - - - - -
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                                                               Mario . Alfaro
                     19                                        Attorneys for Defendant
                                                               MINKA LIGHTING, INC.
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                                           INTERNATIONAL CO. LTD.'S COMPLAINT
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                       I                 Vaxcel International Co., Ltd vs. Minka Lighting, Inc.
                                     US DC-Central District - Case No.: 5: 18-cv-02549-GW-SHKx
                       2
                       3                            CERTIFICATE OF SERVICE
                      4
                       5         I hereby certify that on February 1, 2019, I electronically filed the foregoing
                       6   DEFENDANT           MINKA        LIGHTING          INC.'S      ANSWER                  AND
                       7   COUNTERCLAIM TO PLAINTIFF VAXCEL INTERNATIONAL CO.
                      8    LTD.'S COMPLAINT - DEMAND FOR JURY TRIAL with the Clerk of the
                      9    Court using the CM/ECF system which will send notification of such filing to the
                      Io   ECF registrants at the email addresses indicated on the attached Service List.
                     11          I cetiify under penalty of perjury under the laws of the United States of
                     12    America that the foregoing is true and con-ect. Executed on February 1, 2019,
                     13    Riverside, California.                 -----~~/             ~
                     14
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   951-783-9470                            COUNTERCLAIM TO PLAINTIFF VAXCEL
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                      1                Vaxcel International Co., Ltd vs. Minka Lighting, Inc.
                                    USDC-Central District – Case No.: 5:18-cv-02549-GW-SHKx
                      2
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